            Case 1:18-mj-00002-KJM Document 2 Filed 01/03/18 Page 1 of 2                                           PageID #: 6
AO 93          (Rev. 12/09) Search and Seizure Warrant (Page 2)


                                                                    Return
Case No.:                             Date and time warrant executed:             Copy of warrant and inventory left with:
        18-0002KJM                    January 2, 20 18 1015am                     !          WITHIN SUBJECT PARC EL
Inventory made i n the presence of:
                                                 KIMO REPE RCIO
                                '
Inventory of the property taken and name of any person(s) seized:



                                               I. I lbs. (2) whole fresh avocado fruit
                                               0.6 lb. (2) whole fresh citrus fruit
                                               0.3 lb. ( I) whole fresh star apple fruit



         FORWARDED:
                                                                                                  FILED IN rHl
                                               1 box macadamia nuts                     UNITED STATES DISTRICT COURT
                                               1 box chocolate                               DISTRICT OF HAWAII
                                               wrapping paper/bow
                                                                                                 JAN 0 3 2018
                                                                                       at.3_0°clockand ~in. flM ~
                                                                                              SUE BEITIA. CLERK




                                                                  Certification

         1declare under penalty of perjury that this inventory is correct and was returned a long with the original warrant
to the designated judge.




Date: 1/2/2018
                                                                                           Executing officer 's signature

                                                                                      Roger T. Yamane, Jr., PPQ Officer
                                                                                              Printed name and title
        Case 1:18-mj-00002-KJM Document 2 Filed 01/03/18 Page 2 of 2                                                             PageID #: 7

AO 93     (Rev 12/09) Search and Seizure Warrant




 ORIGINAL                                          UNITED STATES DISTRICT COURT
                                                                                  for the
                                                                            District of Hawaii

                         In the Matter of the Search of
                     (Briefly describe the property to be searched
                     or idemify the person by name and address)
 Multicolored cardboard parcel weighi ng 5.60 pounds.                                            Case No.:    18-0002KJM
 Package further Identified by a red-inked arab ic numeral
 16980 which is 1.25 inches in length and signed on a red-
 inked line below such number by Edna Tanaid.


                                                         SEARCH AND SEIZURE WARRANT
        To:           Any authorized law enforcement oflicer

                 An application by a federal law enforcement officer or an attorney for the government requests the search
        of the following person or property located in the   Honolulu              District of _ __,H-"a=-w:. :.=ai:. :. i_ _ _ _ __
        (idemify the person or describe the property to be searched and give its location) :

            The property described above, is in the U.S. Post Oflice building located at 3600 Aolele Street, Honolulu, HI 96820.

                     The person or property to be searched, described above, is believed to conceal            (idem ify the person or describe the property
        to be sei:ed):

            (I) Fresh fruits, (2) fresh vegetables, (3) live plants and parts thereof, (4) seeds and seed pods through the
           United States mails, possessed in violation of Title 7, United States Code, Sections 770 I et.~ and evidence
           of said violations.
                  I find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or
        property.

                      YO U ARE COMMANDED to execute this warrant on or before                                                1/ 15/20 18
                                                                                                                        (not to exceed /.I days)

               r8I      in the daytime 6:00 a.m. to I0 p.m.               D     at any time in the day or night as I find reasonable cause has been
                                                                                established.
                  Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
        taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
        place where the property was taken.
                 The officer exec uting this warrant, or an o fficer present during the execution of the warrant, must prepare an
        inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

                                          See Below
                                          (name)

                 O I find that immediate notification may have an adverse result listed in 18 U.S.C.§ 2705 (except fo r delay
        of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
        searched or seized (check the appropriate box) o for ___ days (not to exceed 30).
                                                       o until the fac ts justifying, the later specific date of _ _ _ _ __


 Date and time issued: _ 1/_2_/2_0_1_8_ _ _~8~·0~6~a~m~

                                                                                                                       Kenneth J. Mansfi eld
                                                                                                                       Un ited States Magistrate Judge
 City and State:            Honolulu, Hawaii
